Case 9:23-cv-00218-GTS-DJS Document 1 Filed 02fi7/23,, Page Lortey)

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‘UNITED STATES DISTRICT COURT
’ NORTHERN DISTRICT OF NEW YORK ee

OTQVAL BookeR pat
: COMPLAINT
(Pro Se Prisoner)

Case No. ss 280 Vo \&

V. (Assigned by Clerk's

SGT OcKAMUCHE onion ey Eee

: Jury Demand

o Yes
Defendant(s). O No

rk - Syracuse

Plaintiff(s),

NOTICE
The public can access electronic court files. For privacy and security reasons,

apeis fiéG With the Court should therefore not contain: ai) individuai'’s sociai
security number, taxpayer identification number, or birth date; the name of a
person known to be a minor; or a financial account number. A filing may
include only. the last four digits of a social security number or taxpayer-

identification number; the year of an individual's birth: a minor's initiais; and the
last four digits of a financial account number. See Fed. R. Civ. P. 5.2.

LEGAL BASIS FOR COMPLAINT

This is a civil action seeking relief and/or damages to defend and protect the

rights guaranteed by the Constitution and laws of the United States. Indicate
below the federal basis for your claims.

Bw 42U.S.C. § 1983 (state, county, or municipal defendants)

QO Bivens v. Six Unknown Federal Narcotics Agents, 403 U.S. 388 (1971)
(federal defendants)

O Other (please specify)

xz Case 9:23-cv-00218-GTS-DJS Document 1 Filed 02/17/23 Page 2 of 12

ans: PLAINTIFF(S) INFORMATION

Name: \DLeu AM Booker
Prisoner ID #: /bAlog |
Place of detention: _(oCeene Cofrectiona \ £60 hhy |
Address: v0 Goae Te
Coxsackie, NeW¥oCE laos] -0975—

Indicate your confinement status when the alleged wrongdoing occurred:
O Pretrial detainee
O Civilly committed detainee
@ Convicted and sentenced state prisoner
O Convicted and sentenced federal prisoner
O Immigration detainee

Provide any other names by which you are or have been known and any other
identification numbers associated with prior periods of incarceration:

lf there are additional plaintiffs, each person must provide all of the information
requested in this section and must sign the complaint; additional sheets of paper
may bé useG ana attached to this complaint.

Wl. DEFENDANT(S) INFORMATION

Defendant No. 1: Sou QO CKAMUCHE

Name (Last, First)

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Job Title i

ia bor 1 75
Work Address

Coxsackie New yor® 1207-0 9S
City State Zip Code

Defendant No. 2:

Name (Last, First)

Job Title

Case 9:23-cv-00218-GTS-DJS Document1 Filed 02/17/23 Page 3 of 12

Work Address

City State Zip Code

Defendant No. 3:

Name (Last, First)

Job Title

Work Address

City State Zip Code

Defendant No. 4:

Name (Last, First)

Job Title

Work Address

City Staite Zip Code

if there are additional defendants, the information requested in this section must
be provided for each person; additional sheets of paper may be used and
attached to this complaint.

STATEMENT OF FACTS

State briefly and concisely the facts supporting your claims. Describe the
events in the order they happened. Your statement of facts should include the
following:

e The date(s) on which the events occurred
e Where these events took place (identify the facility and, if relevant, the
specific location in the facility)
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e How each defendant was involved in the conduct you are complaining
about

If you were physically injured by the alleged misconduct, describe the nature of
your injuries and the medical evaluation and treatment you were provided. You

need not cite to case law or statutes or provide legal argument in the Statement
of Facts. Use additional sheets of paper if necessary.

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A, State briefly and concisely the constitutional and/or statutory basis for each claim
oe de you seek to assert and identify the defendant(s) against whom each claim is

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Case 9:23-cv-00218-GTS-DJS Document 1 Filed 02/17/23 Page 6 of 42:

_ asserted. Commonly asserted claims include: excessive force; failure to protect:
deliberate indifference to medical needs; unconstitutional conditions of
confinement; denial of due process in a disciplinary or other proceeding; denial of
equal protection; retaliation for the exercise of a First Amendment right; and
interference with free exercise of religion. Legal argument and case citations are
not required. Use additional sheets of paper if necessary.

FIRST CLAIM

Add On M4 jée
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SECOND CLAIM

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THIRD CLAIM
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Plaipitiffs signature
(All plaintiffs must sign the complaint)

(revised 10/27/16)
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Fou 251 @n2) INMATE GRIEVANCE COMPLAINT :

Grievance No,

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CORRECTIONAL FACILITY

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Case 9:23-cv-00218-GTS-DJS Document1 Filed 02/17/23 Page 9 of 12

i Ses detec ariment Cocicteeg ervices
FORM, 241E Gn) INMATE oe COMPLAINT :

Gdevance No. a

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CORRECTIONAL FACILITY

Date alalgs

Housing Unis__ (C+
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This form must be filed within 2] calendar days of Grievance Facident}*
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_ Case 9:23-cv-00218-GTS-DJS Document 1. Filed 02/17/23 Page 10 of 12

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GREENE CORRECTIONAL FACILITY 02/13/2023

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DEPARTMENT OF CORRECTIONS AND COMMUNITY SUPERV!

OFFENDER CORRESPONDENCE PROGRAM

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